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                            No. 2021-2348
           UNITED STATES COURT OF APPEALS
              FOR THE FEDERAL CIRCUIT

              LKQ CORPORATION and KEYSTONE
               AUTOMOTIVE INDUSTRIES, INC.,
                              Appellants,

                                  v.

        GM GLOBAL TECHNOLOGY OPERATIONS LLC,
                           Appellee.




    On Appeal from United States Patent and Trademark Office,
       Patent Trial and Appeal Board in No. IPR2020-00534


BRIEF OF AMICI CURIAE INSTITUTE FOR DESIGN SCIENCE
  AND PUBLIC POLICY AND THIRTY-SIX DISTINGUISHED
INDUSTRIAL DESIGNERS IN SUPPORT OF NEITHER PARTY
  _____________________________________________________________

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FORM 9. Certificate of Interest                                                         Form 9 (p. 1)
                                                                                         March 2023


                     UNITED STATES COURT OF APPEALS
                        FOR THE FEDERAL CIRCUIT

                                  CERTIFICATE OF INTEREST

            Case Number 2021-2348
   Short Case Caption LKQ Corporation v. GM Global Technology Operations
   Filing Party/Entity Amici Curiae Institute for Design Science and Public Policy and 36 Designers



 Instructions:

     1. Complete each section of the form and select none or N/A if appropriate.

     2. Please enter only one item per box; attach additional pages as needed, and
        check the box to indicate such pages are attached.

     3. In answering Sections 2 and 3, be specific as to which represented entities
        the answers apply; lack of specificity may result in non-compliance.

     4. Please do not duplicate entries within Section 5.

     5. Counsel must file an amended Certificate of Interest within seven days after
        any information on this form changes. Fed. Cir. R. 47.4(c).


  I certify the following information and any attached sheets are accurate and
  complete to the best of my knowledge.


        08/28/2023
  Date: _________________                    Signature:      /s/ Matthew J. Dowd

                                             Name:           Matthew J. Dowd
              Case: 21-2348           Document: 121        Page: 3    Filed: 08/28/2023



FORM 9. Certificate of Interest                                                           Form 9 (p. 2)
                                                                                           March 2023


     1. Represented                          2. Real Party in         3. Parent Corporations
         Entities.                               Interest.               and Stockholders.
   Fed. Cir. R. 47.4(a)(1).                Fed. Cir. R. 47.4(a)(2).     Fed. Cir. R. 47.4(a)(3).
 Provide the full names of            Provide the full names of       Provide the full names of
 all entities represented by          all real parties in interest    all parent corporations for
 undersigned counsel in               for the entities. Do not list   the entities and all
 this case.                           the real parties if they are    publicly held companies
                                      the same as the entities.       that own 10% or more
                                                                      stock in the entities.
                                       ✔    None/Not Applicable        ✔   None/Not Applicable

See Exhibit A




                                  ✔
                                            Additional pages attached
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    Industrial Designer, Tektronix

29) Michael Derocher
    Former Design Manager and Design Director, HP Inc., Xerox and
    Uniden



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    Park University, and University of Kansas




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                   INTEREST OF AMICI CURIAE1

     Amicus Curiae Institute for Design Science and Public Policy

(“IDSPP”) is an independent, non-profit professional organization

founded in 2011 to support the integration of design science and design

intellectual property rights. IDSPP’s current efforts focus on tracking

and supporting critical design research trends relevant to advancing

design intellectual property rights in the United States and globally.

     Individual Amici Curiae are leading industrial design profession-

als, fashion designers, user experience (“UX”) designers, design execu-

tives, design research professionals, and design academics. Amici have

decades of experience providing product design services to leading corpo-

rations, including Apple, Facebook, Amazon, Microsoft, Merck, Samsung,

American Airlines, AT&T, Citibank, Coca-Cola, Ford, General Electric,

General Motors, Goldman Sachs, The Harvard Endowment, Herman Mil-

ler, Hewlett Packard, Google, IBM, Knoll, Lenovo, LG, Louis Vuitton,

Mobil Oil, Motorola, the New York Stock Exchange, NASA, Nike, Pfizer,



1 No party’s counsel authored this brief in whole or in part, and no party,

party’s counsel, or any other person has contributed money intended to
fund the preparation or submission of this brief. Individual Amici Curiae
are listed in the attached Addendum.
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Procter & Gamble, Starbucks, Target, Whirlpool, Xerox, and many, many

others.

     Amici include past presidents of the Industrial Designers Society of

America (“IDSA”) and the Human Factors and Ergonomics Society, and

a past Chair of the Design Protection Section of the IDSA. Amici have

lectured at leading graduate programs, including Harvard University,

MIT Sloan School of Management, Stanford University, University of

Pennsylvania, and many others. Collectively, Amici have written and

contributed to hundreds of leading business, academic, and news publi-

cations, including UC Berkeley Law Review, Business Week, The New

York Times, Innovations Magazine, Science, and The Wall Street Journal.

     Amici have been invited speakers at leading law conferences on de-

sign patents, including multiple speaking sessions at USPTO Design Day

and the European Union. Amici have been consulting or testifying ex-

perts in hundreds of design patent cases including those which have

formed the basis for modern design patent law. Amici have received hun-

dreds of U.S. and international design awards. Collectively, Amici in-

clude named inventors on hundreds of U.S. design and utility patents.




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     We have based our professional lives on the assumption that de-

signs are patentable and worth enforcing when infringed. Amici have no

personal interest in the outcome of this dispute, though Amici have con-

sulted for both parties.

                  SUMMARY OF THE ARGUMENT

     Design patents are an extraordinarily important form of intellec-

tual property. Their importance continues to grow because the market-

place and social interactions more generally are increasingly driven by

visual information and cues. For that reason, the present case is a criti-

cal opportunity for the Court to make several needed adjustments to de-

sign patent law to ensure that the law aligns with the role of designs in

the marketplace and how designs are developed and perceived.

     First, a deeper understanding of the design process and how design

innovation functions in the marketplace is a necessary predicate to an-

swering the Court’s en banc questions. The design process’s main objec-

tive is to create innovation that is distinguishable from other designs and

which is attractive to consumers. Empirical research has expanded the

understanding that neither designers nor consumers view product de-




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signs as an assemblage of individual parts. Studies have likewise con-

firmed that an experienced designer perceives designs differently than

the average consumer—the latter of which is the intended target/user of

design innovation.

     Second, that experiential foundation of design innovation under-

scores several deficiencies with current design-patent law—one being the

open question of whether the “ordinary observer” test should apply to the

obviousness analysis. Precedent shows how this open question devel-

oped, and the Court now has an opportunity with this case to clarify the

applicable standard for assessing obviousness of design patents.

     Third, the Court should clarify that the ordinary observer—not the

ordinary designer—applies to deciding nonobviousness of design patents.

This clarification would remedy the status quo, which leads to anomalous

outcomes between patentability and infringement. Applying the ordi-

nary observer test also aligns with the real-world understanding and ap-

plication of design innovation.

     Fourth, the novelty analysis for designs should be restored to its

traditional and statutory basis. Correctly applying the ordinary observer

for both anticipation and obviousness leads to the anomalous outcome


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where both analyses reduce to the same effective test, with anticipation

using “substantially the same” and obviousness using “basically the

same.” The answer is to restore the anticipation analysis to its classical

formulation—requiring identicality to find a lack of novelty.

      Fifth, the Court should largely retain the Rosen two-step test for

analyzing obviousness, but the second step should be eliminated or re-

stricted to narrow circumstances. This approach aligns the obviousness

analysis with how designers and consumers view product designs—not

as an assemblage of individual parts but as a holistic perception. Sec-

ondary references should be used not at all or only in very circumscribed

situations where the differences between the claimed design and the

prior art are de minimis, and such differences are shown in one or more

products in the exact same category of products as the claimed design.

     Finally, Amici provide concise answers to the Court’s en banc ques-

tions. The present brief focuses primarily on if and how the Rosen-Durl-

ing test should be modified, and Amici also provide their experienced

perspective on the additional en banc questions.




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                                ARGUMENT

I.    The Design Process Informs The Proper Inquiry For De-
      sign-Patent Obviousness

      A.     The Design Process

      The processes for creating protectable solutions for functional inno-

vations (utility patents) versus visual design innovations (design patents)

are so fundamentally different that they do not support the same tests

for obviousness. The deep-rooted differences stem from the very nature

of what engineers do versus what designers do when they create their

respective innovations. Amici collectively have hundreds of years’ worth

of design experience, and their experience confirms the deep-rooted dif-

ferences. And many recent studies have confirmed Amici’s experience in

the field.

      The typical utilitarian innovation (subject to a utility patent) flows

from combining discrete engineering concepts and technologies into new

functional solutions for specific problems. Even the creation of new phar-

maceutical products flows from a novel combination of atoms and mole-

cules. The discrete elements of a functional invention are captured by

the discrete limitations of a utility patent claim.




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     The designer works on a unified whole object, consistent with how

the human mind perceives shapes of designed objects in the marketplace.

Human shape-perception generally processes three-dimensional objects

as a three-dimensional whole (“top-down processing”), not as an assem-

blage of discrete elements. See Stephen E. Palmer, Vision Science: Pho-

tons to Phenomenology 85 (1999). The combination of discrete elements

into a whole object is not consistent with modern neuroscience and shape

perception science. See id.

     While designers do conduct research when developing their de-

signs, their research generally is not narrowly limited to discrete compo-

nents of competitive products. Rather, their research captures examples

from a very wide range of visually stimulating objects from many differ-

ent categories.

     In their research, a designer uses a “mood board,” which is “a graph-

ical/semantic composition explaining the designers’ take on the client re-

quested universe, theme or ambiance.” Vincent Rieuf, et al., Immersive

Moodboards, a Comparative Study of Industrial Design Inspiration Ma-

terial, 13 J. Design Res. 78, 85 (2015). The visual designer is not neces-

sarily seeking discrete design details, but the mood board provides “many


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With mood boards, designers capture a wide range of visually stimulating

materials, textures, and images of other products. When designing a new

automobile, they may research a disparate collection of items such as mo-

torcycle images, colors, fabric samples, office ergonomic chair photos,

sneakers, clocks, and much more, as shown above.

     B.      Companies Develop Designs with Consumers as the
             Intended Audience—Not Expert Designers

     Companies seek design patent protection to protect the value of

their products in the mind of the consumer, when viewed in the compet-

itive landscape of modern retail. The only variable that is relevant in the

protection of a company’s products is whether a competing design is sub-

stantially the same, which, if so, would drain value from the original

product.

     Companies do not conduct market research using ordinary design-

ers as study respondents for the purpose of understanding consumer re-

sponse to the appearance of products. Instead, companies utilize actual

consumers (ordinary observers) in studies to ascertain the impact that

the visual design of their products has on purchase decisions. Thus, it is

the consumer’s perception rather than the designer’s perception that

matters.

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     As confirmed by extensive, peer-reviewed research, professional de-

signers approach visual assessments differently than consumers. For in-

stance, experts in their respective fields outperform non-experts in visual

assessments, including how expert radiologists can “detect cancer in a

mammogram in a split second,” as well as other fields such as “fish clas-

sification,” “car driving,” and the “arts.”   Andreas Gegenfurtner, et al.,

Expertise Differences in the Comprehension of Visualizations: A Meta-

Analysis of Eye-Tracking Research in Professional Domains, 23 Educ.

Psychol. Rev. 523, 524 (2011). A comprehensive meta-analysis study ex-

amined how “experts, when compared with non-experts, had shorter fix-

ation durations, more fixations on task-relevant areas, and fewer

fixations on task-redundant areas.” Id. Assessing whether a design is

obvious through the eye of the consumer is thus scientifically much dif-

ferent than assessing it through the designer’s expert perspective.

     A recent study utilizing a widely accepted and validated design sen-

sitivity testing methodology found that designers are more sensitive to

design and see more detailed differences when examining designs for

similarities/differences compared to consumers, i.e., the ordinary ob-

server. Charles L. Mauro, et al., The Impact of Design Experts in the


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Application of the Ordinary Observer Test in Design Patent Litigation,

(Working Paper). This disparity in design sensitivity may lead to a bias

in decisionmaking when compared to decisionmaking by an ordinary ob-

server.

     The realities of design development and perception are not accu-

rately reflected in current law, as explained below. Obviousness for de-

sign patents is assessed through the eyes of an ordinary designer. That

standard is not aligned, however, with how designers develop products

and designs in the real-world. Nor is it consistent with how consumers

perceive those products and designs in the marketplace. Instead, the

question of obviousness should be determined through the lens of the or-

dinary observer’s response to the visual design of a product as viewed in

the marketplace.

     The differences between an ordinary designer and an ordinary ob-

server are the genesis of a long-standing problem with the current use of

the ordinary-designer test in an obviousness analysis. Ordinary design-

ers do not possess critical backgrounds in market research theory and




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practice, and their backgrounds negatively skew the outcome of obvious-

ness determinations. The least biased and most appropriate means of

assessing obviousness is therefore the ordinary observer test.

     Some courts have accepted advanced versions of the ordinary ob-

server test methodology that utilize large-sample, professionally devel-

oped, and scientifically validated consumer surveys designed to improve

the reliability of the ordinary observer test when evaluating infringe-

ment. See, e.g., Delta T, LLC v. Dan’s Fan City, Inc., No. 8:19-cv-1731-

VMC-SPF, 2021 WL 458022, at *6-8 (M.D. Fla. Feb. 9, 2021); see also

Charles L. Mauro, et al., Development and Initial Validation of an Em-

pirical Ordinary Observer Test for Design Patent Infringement 4 (June 5,

2020) (presenting “a methodology for applying data-driven decision-mak-

ing and modern neuroscience-based research to design patent infringe-

ment litigation”).4     These methods provide the fact finder with

scientifically valid, objective data on the ordinary observer test for in-

fringement, and can do the same for the issue of obviousness.




4 https://ssrn.com/abstract=3620088.



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     C.     The Overall Appearance of a Design Counts, Not the
            Individual, Discrete Features

     Modern marketing science validates that, when consumers pur-

chase products, they seek a combination of newness and familiarity that

only consumers can assess. This reality of consumer behavior is the foun-

dation of the “Most Advanced Yet Acceptable” theory (“MAYA theory”) of

product design, developed initially by Raymond Loewy, the founding fa-

ther of industrial design. Raymond Loewy, Never Leave Well Enough

Alone 277-78 (1951). Loewy developed some of the most iconic designs in

U.S. commerce, including The Air Force One logo, the Coca-Cola bottle,

the Shell Oil logo, the U.S. Postal Service logo, and the Greyhound logo.

See Rikke Friis Dam, Interaction Design Foundation, The MAYA Princi-

ple: Design for the Future, but Balance It with Your Users’ Present (2021).5

     Confirming the principles of MAYA design theory, peer-reviewed

research has shown, for example, that modern consumer products (such

as automobiles, telephones, and teakettles) must look the most advanced

possible, yet still have the basic proportions and angular visual impres-

sion of a typical product. This combination is a measure of familiarity.


5 https://www.interaction-design.org/literature/article/design-for-the-fu-
ture-but-balance-it-with-your-users-present.

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See, e.g., Paul Hekkert, et al., “Most Advanced, Yet Acceptable”: Typicality

and Novelty as Joint Predictors of Aesthetic Preference in Industrial De-

sign, 94 Brit. J. Psychology 111, 121 (2010) (“The findings of all three

studies demonstrate that typicality and novelty are jointly and equally

effective in explaining the aesthetic preference of consumer products.”).

     Designers actually measure the success of a design in its visual abil-

ity to invoke in consumers certain reactions to and associations with the

underlying product. Thus, the perspective of consumers, i.e., ordinary

observers, can meaningfully measure whether or not a design has suc-

ceeded in creating the intended distinct visual impression. To the extent

that the design-patent system purports to reward designers of nonobvi-

ous designs with a patent, it would be more appropriate for consumers,

not designers, to effectively decide whether the design creates a visual

impression worthy of protection. If such an ordinary observer believes

that a particular design is basically the same as a prior art design, it

should not be granted a patent.

     How consumers seek information and make purchase decisions,

both in brick-and-mortar retail and in online marketplaces, are a vast

and extensively documented area of research. See generally Xin (Shane)


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Wang, et al., The Journal of Consumer Research at 40: A Historical Anal-

ysis, 42 J. Consumer Res. 5 (2015). Consumers make purchase decisions

with a predetermined product category in mind. Alina Stankevich, Ex-

plaining the Consumer Decision-Making Process: Critical Literature Re-

view, 2 J. Int’l Bus. Res. & Mktg. 7, 10 (2017) (reviewing how a consumer

“starts an information search” “[a]fter the consumer has developed a

need/want”). They do not randomly seek information from other product

categories. A consumer interested in purchasing an SUV automobile will

not conduct an information search about vacuum cleaners. See id. More-

over, there is no way to objectively combine visual design features from

different product categories, or even visual design features from within

the same category, because companies sell whole unified products and

not discrete visual design component parts that can be arbitrarily com-

bined to make a new visual “product.”

     As one of the Amici Charles Mauro has explained, “[u]sability re-

search used to be about handing a product to a user, putting them in a

lab, giving them a task, recording it, and getting their personal impres-

sions.” Mike Winder, Down to a Science: Charles Mauro’s Expertise in




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Neuroscience-Based Design Research Dates Back to His ArtCenter Edu-

cation, Dot Magazine (May 16, 2019).6 Now, though, complex scientific

studies can include “3D spatial tracking, electromyography, cognitive

workload analysis, microfacial expression analysis, map neurophysiolog-

ical activity with EEG, and more,” all providing insight to how consumers

conceive designs. Id. Researchers “can peer very deeply into preferences,

motivations, errors, satisfaction and many different variables that have

been virtually impossible to tap into historically.” Id.; see also Charles L.

Mauro & Christopher Morley, Why the Future of Design Patent Protec-

tions Will Rely on Modern Neuroscience, Not Constitutional and Legal

Reversionism, 36 Berkeley Tech. L.J. 277, 281-82 (2022) (explaining how

the current legal tests are deficient and “there has been virtually no at-

tempt to define the hypothetical observer using experimentally validated

and statistically rigorous research”).

II.   The Court’s Path To The Existing Open Question About
      The Correct Standard For Design-Patent Obviousness

      The vast weight of precedent, including Gorham v. White, 81 U.S.

511 (1871), and Egyptian Goddess v. Swisa, Inc., 543 F.3d 665 (Fed. Cir.


6 https://www.artcenter.edu/connect/dot-magazine/articles/charles-

mauro-down-to-a-science.html.

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2008) (en banc), supports the proposition that obviousness should be

judged by an ordinary observer. The case-law history has not been as

clear, however. As recently as 2009, this Court remarked that it was an

open question of whether the ordinary observer test should apply to ob-

viousness as well as infringement. The Court should use this case as an

opportunity to remedy the existing incongruity. See generally Janice M.

Mueller & Daniel Harris Brean, Overcoming the “Impossible Issue” of

Nonobviousness in Design Patents, 99 Ky. L.J. 419 (2011).

     A.     Gorham v. White is Directly Relevant to the Issue of
            Obviousness

     In Gorham v. White, 81 U.S. 511 (1871), the Supreme Court formu-

lated the test for determining whether a patented design is infringed by

a later design. The question there was whether the “sameness of appear-

ance” should be judged through the eyes of an expert or the eyes of an

ordinary observer. Id. at 527-28. The Court held the latter, explaining

that, if infringement were determined through the eyes of a person en-

gaged in the manufacture or sale of articles containing such designs”—

i.e., the ordinary designer—“[s]uch a test would destroy all the protection

which the act of Congress intended to give” and “[t]here never could be

piracy of a patented design.” Id. at 527.

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      The Court expanded on its reasoning by Highlighting the important

distinction between the ordinary observer and the ordinary designer, not-

ing that, “[m]uch less than that which would be substantial identity in

[the designers’] eyes would be undistinguishable in the eyes of men gen-

erally, of observers of ordinary acuteness.” Id. at 528. Ordinary observ-

ers “are the principal purchasers of the articles to which designs have

given novel appearances, and if they are misled, and induced to purchase

what is not the article they supposed it to be . . . the patentees are in-

jured . . . .” Id.

      The Supreme Court’s ruling in Gorham is important for many rea-

sons. First, a person versed in designs would almost always notice dif-

ferences between two designs when compared to similar analysis by the

ordinary observer. This observation aligns with the empirical research

discussed above. See supra. Second, it is the ordinary observer—individ-

uals of ordinary intelligence who are principal purchasers of the arti-

cles—who are the proper judges of “substantial sameness.”                This

observation again accurately captures the current role of design innova-

tion—it is intended to be used by the consumers, not merely by fellow




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expert designers. And third, the purpose of design patent law—to pro-

mote progress in the decorative arts—is best served by having ordinary

observers, i.e., “those who buy and use,” id. at 528, as the judges of

whether two designs are substantially the same.

     B.     Laverne Nailed It

     Almost a century after Gorham, this Court’s predecessor (the Court

of Customs and Patent Appeals) essentially adopted Gorham’s approach

in In re Laverne, 356 F.2d 1003 (C.C.P.A. 1966). Laverne involved a chair

design that was rejected as being obvious over the prior art.             Id.

at 1003-04. The patent examiner had concluded that the claimed design

was obvious because the two designs were well “within the skill of a com-

petent designer.”    Id. at 1004-05.      On appeal, the CCPA considered

whether “a person having ordinary skill in the art” per § 103 was an or-

dinary designer or ordinary observer. Id. at 1006.

     The court cogently observed “the test of patentability of an admit-

tedly new design cannot be whether it is no more than a ‘competent de-

signer’ might produce.” Id. What must be done instead, as the court

explained, “is to determine obviousness to the ordinary intelligent man.”

Id. “The test is inherently a visual test, for the design is nothing more


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than appearance [and] no special skill is required to determine what

things look like.” Id.

     Applying the “ordinary intelligent man” standard to the facts of the

case, Judge Rich, writing for the court, proceeded (as an ordinary ob-

server would) to identify “a number of differences,” “the cumulative effect

of which is unquestionably to create a different appearance.”             Id.

at 1006-07. Notably, the court’s reliance on a “cumulative” appearance

evokes the holistic approach to design development and perception, as

discussed above.

     C.     Nalbandian Pulled Out the Nail

     Fifteen years after Laverne, the CCPA changed course in In re Nal-

bandian, 661 F.2d 1214 (C.C.P.A. 1981), when it faced an apparent split

among the circuit courts. The court noted that, “[s]ince the Laverne de-

cision, the Second, Third, Tenth and District of Columbia circuits have

specifically considered the ‘ordinary observer’ test,” as formulated by

Laverne, but “rejected it.” Id. at 1215. In an effort to “close this schism,”

the CCPA declared that “the test of Laverne will no longer be followed”

and therefore held that the “ordinary designer”—not the “ordinary ob-

server”—applies to design-patent obviousness. Id. at 1216.


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     The court premised its overruling of Laverne on the Supreme

Court’s holding in Graham v. John Deere, 383 U.S. 1 (1966), which of

course was applying the “the level of ordinary skill in the art” standard

in the context of a utility-patent case. Of note, Laverne was decided in

March 1966, about a month after Graham issued. Thus, when Judge

Rich wrote the unanimous Laverne decision, he and the other CCPA

judges were presumably aware of Graham but rightfully believed that it

had limited, if any, applicability in the design-patent context.7

     The CCPA in Nalbandian also contended that the standard of “or-

dinary designer” is helpful because of the objective evidence which can be

brought to bear by submitting an affidavit from the expert, which the




7 Indeed, Judge Rich, in concurrence “as the father of the so-called ‘ordi-

nary observer’ test,” noted that “[t]he real problem, however, is not
whether the § 103 fictitious ‘person’ is an ordinary observer or an ordi-
nary designer but with the necessity under Title 35 of finding unobvious-
ness in a design.” 661 F.2d at 1218. He further recalled how the 1952
Patent Act was not intended to solve the conundrum of how a design can
be “nonobvious” or “inventive.” Id. at 1218-20. Judge Rich elaborated on
then-pending legislation which would have addressed “the real problem,”
but it was never enacted—all of which further highlights why § 103 is not
intended to be a uniform standard for both design patents and utility pa-
tents.

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court curiously admitted would be subjective. 661 F.2d at 1217. It con-

cluded that “[n]o affiant can be qualified as an expert ordinary observer.”

Id. Then, somewhat inconsistently, the court said that there is no prob-

lem in using the ordinary observer standard in infringement determina-

tions.

         D.     Titan Tire—An Open Question

         Almost thirty years after Nalbandian, the “ordinary observer” ver-

sus “ordinary designer” debate arose before this Court in Titan Tire Corp.

v. Case New Holland, Inc., 566 F.3d 1372 (Fed. Cir. 2009).              The Court

faced the renewed question because the full Court had recently abrogated

the point-of-novelty test for infringement with its decision in Egyptian

Goddess.

         In Egyptian Goddess, the unanimous Court “returned the focus of

the infringement inquiry to a comparison of the designs as a whole from

the perspective of an ordinary observer, while at the same time recogniz-

ing that the background prior art may provide context for this analysis.”

Titan Tire, 566 F.3d at 1384 (citing Egyptian Goddess, 543 F.3d

at 676-77). As the Court recognized, “although the approach we adopt

will frequently involve comparisons between the claimed design and the


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prior art, it is not a test for determining validity, but is designed solely

as a test of infringement.” Id. (quoting Egyptian Goddess, 543 F.3d at

678). The Court continued: “[E]ven though this [C]ourt has reestablished

the ordinary observer test as the controlling doctrine applicable to design

patent infringement, it is not clear to what extent, if any, the doctrine

applicable to obviousness should be modified to conform to the approach

adopted by this [C]ourt in Egyptian Goddess.” Id.

     The Court in Titan Tire therefore concluded that it was an open

question of whether the ordinary observer test should apply to design-

patent obviousness as well as to infringement. Id. Under the specific

facts, though, the Court had no reason to answer the question. Id. This

issue remains unanswered today, and Amici respectfully submit that the

Court can and should resolve it in the present case in order to improve

the state of design-patent law.

III. Realign Design-Patent Validity and Infringement By Ap-
     plying The Ordinary Observer To Obviousness And Restor-
     ing The Statutory Anticipation Analysis

     Titan Tire’s recognition and implicit invitation lead to Amici’s next

point of showing how the legal status quo presents a severe disconnect




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between design-patent validity and infringement. As real-world design-

ers, Amici are adversely impacted by the inconsistent application of the

law and submit that this case presents an opportunity to fix the law so

that it aligns with marketplace realities of design innovation.

      A.     The Current Misalignment

      In general, “it has been well established for over a century that the

same test must be used for both infringement and anticipation.” Int’l

Seaway Trading Corp. v. Walgreens Corp., 589 F.3d 1233, 1239 (Fed. Cir.

2009). That general principle stems from the old maxim of “‘[t]hat which

infringes, if later, would anticipate, if earlier.’” Peters v. Active Mfg. Co.,

129 U.S. 530, 537 (1889) (quoting Peters v. Active Mfg. Co., 21 F. 319, 321

(S.D. Ohio 1884)). That maxim urges the same analytical symmetry in

the design-patent context, whether for infringement or validity, includ-

ing novelty and nonobviousness. But that, unfortunately, is not the case

for design-patent obviousness.

      As noted, infringement and novelty are currently assessed using

the ordinary observer test, but obviousness is assessed using the ordinary

designer test. See supra. This incongruity can lead to anomalous results.

For instance, one can have a situation where an accused design does not


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infringe an earlier-patented design, but that same accused design could

be rendered obvious by the patented design (if the latter pre-dated it),

and the only reason is because the analyses are assessed using different

standards. Infringement is through the eyes of the ordinary observer,

whereas obviousness is through the more experienced eyes of the ordi-

nary designer.

     More specifically, the incongruity creates a situation where, for ex-

ample, Design 1 does not infringe a patent claiming Design 2, but that

same Design 2 could (if earlier in time) render Design 1 as obvious, even

though Design 1 does not fall within the scope of the patent on Design 2.

See Mueller & Brean, supra, at 547 (explaining in further detail this in-

congruity). Understanding how designers and humans perceive objects

underscores the problematic and illogical asymmetry since the scope of a

design patent is effectively different for validity and infringement pur-

poses. When the current law leads to inconsistent and incompatible re-

sults, Amici respectfully submit that something is amiss.

     In view of how design innovation occurs, see supra, the anomalous

result should not be surprising. The designer, after all, will have greater

visual acuity than an ordinary observer. The designer will also have


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greater knowledge and familiarity with the design process itself. The

designer will likely be less inclined to view design combinations and mod-

ifications as “substantially the same.” See Charles L. Mauro, et al., The

Impact of Design Experts in the Application of the Ordinary Observer Test

in Design Patent Litigation (Working Paper).

     This incongruity is further highlighted by the fact that there ap-

pears to be little, if any, meaningful difference between the articulated

tests for infringement and obviousness. Infringement uses the “substan-

tially the same” articulation, Egyptian Goddess, 543 F.3d at 670, whereas

obviousness uses the “basically the same” articulation, In re Rosen,

673 F.2d 388, 391 (C.C.P.A. 1982). Amici are hard-pressed to ascertain

any difference between “substantially the same” and “basically the

same.” Nor does there appear to be any meaningful difference when con-

sidering the realities of the design-innovation process, as discussed

above.

     The current inconsistencies harm the policy goal of the design-pa-

tent system. The design-patent system is intended to promote progress

in design innovation, but that progress is hindered when the protectabil-

ity and enforcement of designs are adjudged by inconsistent standards.


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Designs that are visually distinct from one another for purposes of in-

fringement should each be equally eligible for patent protection.

     B.     How to Fix the Misalignment

     Anticipation and obviousness should both be adjudged by the same

ordinary-observer standard for design patents. That much should be

readily accepted, based on the above.

     But accepting that proposition does lead to another issue: If the

tests for both anticipation and obviousness are to be judged by an ordi-

nary observer, the two tests would reduce to the same effective analysis,

as explained below. That outcome—judging anticipation and obvious-

ness through the same analysis—cannot be, of course. The answer to this

quirk is to restore the anticipation analysis in the design-patent context

to its classical formulation, aligned with the statutory requirements.

     Anticipation requires each and every element of a claimed inven-

tion to be disclosed in a single prior art reference. See 35 U.S.C. § 102

(referring to the “claimed invention”); id. § 103 (“notwithstanding that

the claimed invention is not identically disclosed as set forth in sec-

tion 102”). In the utility-patent context, “[t]he identical invention must




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be shown in as complete detail as is contained in the . . . claim.” Rich-

ardson v. Suzuki Motor Co., 868 F.2d 1226, 1236 (Fed. Cir. 1989) (empha-

sis added).

     In the design-patent context, the current anticipation analysis is

different, however. The test for design patent anticipation uses “substan-

tially the same” as the test. Int’l Seaway, 589 F.3d at 1239. Design-pa-

tent anticipation thus incorporates the broader “substantially the same”

analysis.8

     The important point here is that, when the ordinary observer stand-

ard is applied to obviousness, the current anticipation test becomes iden-

tical to the obviousness analysis. Both tests would use the ordinary

observer perspective, and the analyses would rely on an identical stand-

ard: “substantially the same” for anticipation and “basically the same”

for obviousness. There is no meaningful difference between the two.




8 One might ask how design-patent anticipation morphed from “identical”

to “substantially the same.” This resulted from an overly loose applica-
tion of the Peters maxim that fails to account for the doctrine of equiva-
lents, which does not apply in the design-patent context. See Mueller &
Brean, supra, at 572 n.549; see also Perry Saidman, Design Patents are
Sinking in International Seaway: Rethinking Design Patent Anticipation
(Feb. 5, 2020), https://ssrn.com/abstract=3532376.

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      The simple solution to that quirk is to restore the anticipation test

to its longstanding, traditional requirement of identicality. That formu-

lation of anticipation conforms to the statutory requirement. See 35

U.S.C. §§ 102, 103. It would also align with this Court’s statement that

“the factual inquiry in determining anticipation over a prior art reference

is the same as utility patents applications.” Hupp v. Siroflex of Am., Inc.,

122 F.3d 1456, 1461 (Fed. Cir. 1997) (citing 35 U.S.C. § 171). While dif-

ferences between design innovation and utility innovation warrant dif-

ferent approaches in the obviousness context, the same cannot be said for

anticipation. Nor is there any statutory basis for doing so.

IV.   The Rosen Two-Step Test For Obviousness Needs To Be
      Modified

      The present case challenges the Rosen two-step analysis, including

as later applied by Durling v. Spectrum Furniture Co., 101 F.3d 100 (Fed.

Cir. 1996). Amici submit that the Rosen test provides a valid and useful

paradigm for assessing the obviousness of design patents, and that it can

be improved as suggested herein.




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     A.     Rosen’s Primary-Reference Requirement is Appropri-
            ate Under the Ordinary Observer Test

     Under Rosen, to establish obviousness, “one must find a single ref-

erence, a something in existence, the design characteristics of which are

basically the same as the claimed design.” 673 F.2d at 391. The selection

of the primary reference, known as a Rosen reference, considers the “vis-

ual impression created by the patented design as a whole.” Durling, 101

F.3d at 103 (citing Rosen, 673 F.2d at 391). If a primary reference is

found, other “secondary” references “may be used to modify it to create a

design that has the same overall visual appearance as the claimed de-

sign.” Durling, 101 F.3d at 103; see also In re Harvey, 12 F.3d 1061, 1063

(Fed. Cir. 1993). This “long-standing test for the proper combination of

references has been ‘whether they are so related [to the primary refer-

ence] that the appearance of certain ornamental features in one would

suggest the application of those features to the other.’” Rosen, 673 F.2d

at 391 (quoting In re Glavas, 230 F.2d 447, 450 (C.C.P.A. 1956)); see also

In re Borden, 90 F.3d 1570, 1575 (Fed. Cir. 1996). The test is intended to

safeguard against hindsight-based picking-and-choosing of elements

from various, marginally related references. See, e.g., In re Jennings,

182 F.2d 207, 208 (C.C.P.A. 1950).

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     The first step of the Rosen test is well-suited when using the ordi-

nary observer (as opposed to the ordinary designer). An ordinary ob-

server is fully capable of looking at two designs—the claimed design and

the primary reference—and assessing whether the two designs are basi-

cally the same. An ordinary observer, using the “substantially the same”

rubric, does it routinely when it comes to determining infringement, and

there is no reason they cannot do it when it comes to obviousness. If an

ordinary observer can make the ultimate judgment about whether a pa-

tent may be enforced against an infringer, they are certainly equipped to

make a similar judgment when it comes to whether the patent should

have been issued in the first place.

     Further, the primary-reference requirement comports with how de-

signs are developed, used, and perceived in the real-world commercial

context.    Consumers generally evaluate the desirability of a product

based on its overall appearance, not its component parts. See Peter H.

Bloch, Seeking the Ideal Form: Product Design and Consumer Response,

59 J. Marketing 16 (1995). In making such a decision, such ordinary ob-

servers compare the overall appearance of the product to other like-kind

products. Ordinary observers perceive the product as a whole, and they


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generally do not dissect the product into discrete elements. Thus, to eval-

uate whether a claimed design is sufficiently distinct from the prior art

in overall appearance, it makes sense to have to produce a single refer-

ence that is quite close to the claimed design, one that is “basically the

same.”

     In contrast, the ordinary designer will likely consider a much

broader field of prior art than would an ordinary observer and will be

more likely to rely on an overall design from an unrelated art. See, e.g.,

Rosen, 673 F.3d at 390 (explaining that, with respect to the claimed coffee

table design, an ordinary designer’s consideration would be broader and

include “designs of contemporary furniture other than coffee tables”).

Thus, the current requirement for a primary reference that has charac-

teristics “basically the same” as the claimed design, when considered

through the ordinary-observer lens, properly safeguards against an

overly expansive assessment of what prior art be the starting point for

an obviousness challenge.

     B.     The Court Should Discard or Tightly Restrict the Use
            of Secondary References

     One necessary modification to the Rosen test is to discard or tightly

restrict the use of secondary references in the obviousness analysis. As

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noted, Rosen permits combining references, but that framework should

be eliminated or tightly cabined to specific instances. Otherwise, the

combination of references will lead to outcomes not consistent with the

goals of promoting design innovation.

     From Amici’s perspective, the concept of combining two, three, or

more specific references is anathema to the design-innovation process.

As explained above, designers do not pick and choose individual elements

and then simply connect the pieces. Moreover, picking and choosing ele-

ments of designs are not how consumers perceive design innovation. The

consuming public views designs as a whole and not as an assemblage of

discrete design elements. See Palmer, supra.

     Furthermore, the case law fails to identify a strong, evidence-based

rationale for combining references for design patents. Rosen, for exam-

ple, relied on Jennings as an example of an obviousness analysis resting

on combining prior art, but Jennings was a case where five different

prior-art references were used, and the court reversed the rejection, em-

phasizing that the claimed design “must be viewed as a whole,” and “com-

pared with something in existence—not with something that might be

brought into existence by selecting individual features from prior art and


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combining them, particularly where combining them would require mod-

ification of every individual feature.” 182 F.2d at 208.

     If secondary references are to be cited against a claimed design,

such secondary references should be limited to those that disclose exactly

the same type of article as the primary Rosen reference. Rosen’s language

regarding “so related” as to “suggest” the combination (as amorphous as

those words are) should require instead that the secondary references are

not simply analogous to the article embodying the claimed design but are

precisely the same type of article. The differences between a Rosen ref-

erence and the claimed design must be very few and very minor (essen-

tially de minimis). See Mueller & Brean, supra, at 547 (recommending

that “such secondary references should be limited to those that disclose

exactly the same type of article as the primary Rosen reference”).

     Ultimately, combining references should be done with great hesita-

tion and only under the narrowest of circumstances. Because of the lati-

tude afforded under Rosen’s second step, the current obviousness

analysis can lead to conclusions that conflict with how designers create

innovation, how consumers perceive that innovation, and how progress

in design innovation can best be promoted.


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V.   The Court’s En Banc Questions

     The above analysis primarily addresses Question C of the Court’s

en banc order. Amici offer the following concise answers to the Court’s

remaining en banc questions. Amici’s answers flow from the discussion

above, as well as other concepts, some of which should be adequately ad-

dressed in the briefs of the parties and other amici.

     Question A. In Amici’s view, KSR International Co. v. Teleflex

Inc., 550 U.S. 398 (2007), does not overrule or abrogate Rosen or Durling.

While KSR applies to § 103, the text of the statute itself recognizes that

the obviousness analysis is different for utility patents as compared to

design patents. Any application of the statute is necessarily confined by

“the art to which the claimed invention pertains.” 35 U.S.C. § 103. De-

sign innovation is a decidedly different “art” than utility innovation, and

thus applying § 103 in the design art can—and should—have different

considerations than in the utility art.

     Question B. Nothing in KSR suggests or indicates that its holding

applies to design-patent law. As noted above, the text of § 103 makes

every analysis dependent on “the art to which the claimed invention per-




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tains.” It therefore should come as no surprise that, since the 1952 Pa-

tent Act, the five Supreme Court cases (besides KSR) to decide the obvi-

ousness of a utility patent or application have never hinted that those

decisions apply without any qualification to the obviousness analysis for

design patents. See Dennison Mfg. Co. v. Panduit Corp., 475 U.S. 8 (1986)

(per curiam); Sakraida v. Ag Pro, Inc., 425 U.S. 273 (1976); Anderson’s-

Black Rock, Inc. v. Pavement Salvage Co., 396 U.S. 57 (1969); United

States v. Adams, 383 U.S. 39 (1966); Graham v. John Deere Co. of Kansas

City, 383 U.S. 1 (1966). Thus, KSR’s rejection of the overly rigid applica-

tion of the teaching-suggestion-motivation test for utility patents does

not mean that the existing flexibility in design-patent obviousness anal-

ysis is insufficient.

      Question D. Amici are not aware of any other precedent that clar-

ifies the Rosen-Durling test.

      Question E. Eliminating the Rosen-Durling test will unneces-

sarily harm design innovation. Improving the test, as recommended in

this brief, would greatly simplify the obviousness analysis for design pa-

tents and bring added legal certainty, which in turn will advance the pro-

gress of design innovation.


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      Question F. Amici believe that this question will be adequately

addressed by the briefs of the parties and other amici.

VI.   Conclusion

      For the foregoing reasons, Amici ask that this Court hold that (a) an

ordinary observer test applies to obviousness; (b) the test for anticipation

revert to its long-standing test that the prior art reference must be iden-

tical to the claimed design; (c) the first step of Rosen remains the same

but applied using the ordinary observer test to judging whether the two

designs are basically the same; and (d) Rosen’s second step should be ei-

ther eliminated or applied in the narrowest of circumstances.


Date: August 28, 2023                    Respectfully submitted,

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                              ADDENDUM

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17) Joyce Thomas
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24) Esteban Fridman
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25) Roger Belveal
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26) Theo Mandel
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27) Sridhar Dhulipala
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28) Scott Peterson
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